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                                                                           January 17, 2018

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Sincerely,




Andy Winchell




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